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Reexamination of Custody Restraint Position and

Positional Asphyxia

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Abstract

The use of the hogtie restraint (also known as hobble or prone maximal restraint) by law
enforcement and prehospital personnel has come under scrutiny because of reports of
sudden deaths in persons placed in this restraint position. Some contend that this body
position restricts chest and abdominal movement to the point that individuals are at risk
for hypoventilatory respiratory compromise and "positional" asphyxiation. We review
case reports of custody deaths in subjects placed in the hogtie position, as well as related
medical literature regarding positional asphyxia. We also review the current research
findings from human physiology studies that have investigated the effects of the hogtie
position on respiratory and pulmonary function. We conclude that the hogtie restraint
position by itself does not cause respiratory compromise to the point of asphyxiation and
that other factors are responsible for the sudden deaths of individuals placed in this
position.

Physical restraints are commonly used by law enforcement and prehospital medical
personnel to subdue violent, combative individuals. Certain methods and techniques of
physical restraint have been found to be potentially harmful to individuals. For example,
the use of neck "choke holds" has been banned by most law enforcement agencies as a
result of studies documenting the risks and dangers of this restraint technique(1,2).

The "hogtie" or "hobble" custody restraint position has come under scrutiny because of
reports of sudden deaths of persons placed in this restraint position. In the hogtie position,
subjects are placed in the prone position with wrists and ankles bound behind the back
and secured together by means of a cord or "hobbling" device. Investigators have
proposed that this position impairs normal respiratory function and places individuals at
risk for asphyxiation from body position or "positional asphyxia."

Normal respiration depends on three critical components: a patent airway; the lungs,
where gas exchange occurs; and a ventilatory apparatus or bellows that moves gases
between the external environment and the lungs. Ventilation depends on the movement of
the chest wall, rib cage, diaphragm, abdominal wall, and other accessory muscles of

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respiration to generate intrathoracic pressures that move gases through the airway to and
from the lungs (3,4).

Respiratory failure occurs when one of these three components fails. Lung disease leads
to gas exchange abnormalities and increased alveolar-arterial oxygen gradient,
manifested by decreases in oxygenation and resultant hypoxemia. Ventilatory bellows
failure leads to alveolar hypoventilation and retention of carbon dioxide, manifested
primarily by hypercapnia. The three major causes of ventilatory pump failure are
decreased central respiratory drive, such as with barbiturate over-doses, chest wall

mechanical defects, such as with flail chest injuries, and respiratory muscle fatigue and
failure (3-5).

The term positional(also "postural") asphyxia has been used to describe the deaths of
individuals who were reportedly found in body positions that interfered with normal
breathing. In these cases, investigators found the deceased in a position that resulted in
failure to maintain a patent airway or failure to maintain adequate ventilatory function. In
addition to the actual body position, other criteria suggesting the diagnosis of positional
asphyxia have been proposed: (a) evidence that circumstances prevented the individual
from escaping the fatal body position; (b) historical information indicating that the
individual had "difficulty in breathing"; and (c) absence of other pathologic or
toxicologic findings clearly suggesting another cause of death(6).

Bell et al. reviewed 30 cases of positional asphyxiation occurring during a 9-year period.
In all cases, victims had no other significant life-ending pathologic findings. Most
commonly, victims were found in positions that resulted in upper airway obstruction,
including head-neck hyperflexion and lying face down on a suffocating object. Acute
alcohol intoxication was a major risk factor for asphyxiation and explained why many of
these individuals were unable to alter the body position that led to positional asphyxiation
(7). A similar asphyxiation phenomenon, termed "mechanical asphyxia," has been
described with the use of vest, jacket, and chest posey restraints, particularly in the
geriatric nursing home population. Asphyxiation occurs when these restraints
accidentally wrap around the necks of individuals and result in strangulation (8-11).

Although most of these cases involved airway obstruction, reports exist of asphyxiation
from ventilatory bellows failure. In their review, Bell et al. reported on four victims
found in confined positions that restricted chest and diaphragmatic movement and thus
may have resulted in hypoventilatory respiratory failure (7). In addition to the reports of
strangulation from vest, jacket, and posey chest restraints are reports of ventilatory
compromise and asphyxiation from these devices. In these cases, subjects became
suspended from a bed or chair by their restraints, with resulting chest constriction to the
point of mechanical ventilatory impairment (12,13).

Similarly, investigators have suggested that the hogtie restraint position places subjects at

risk for asphyxiation from their body position. Numerous case reports in the medical
literature describe deaths occurring in individuals placed in this restraint position while in

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law enforcement custody. In many of these cases, the deaths have been attributed to
positional asphyxia (6,14-17).

CASE REPORTS

In 1985, Wetli and Fishbain reported 7 cases of death in cocaine users. In their report,
they noted that 5 individuals were in police custody at the time, and 4 were placed in a
hogtie-like restraint position. The authors attributed these deaths to cocaine intoxication,
possibly complicated by other factors including "restraint stress" (18).

In 1992, Reay et al. first reported 3 cases of positional asphyxia occurring in individuals
placed in the prone restraint position in the back seat of police patrol cars. In all cases, the
subjects were violent and agitated, either from drug and alcohol intoxication or from
psychiatric illness, and required multiple law enforcement officers to subdue them.
During transport, the subjects became unresponsive and were subsequently found in
cardiopulmonary arrest, On autopsy, no clear lethal anatomic or toxicologic findings
were noted, and, as a result, all the deaths were attributed to positional asphyxia. Reay et
al. assert that the deaths were the result of adverse physiologic effects created by the
semiprone and hogtie positions in a confined space (6).

In 1993, O'Halloran and Lewman reported |1 cases of sudden death occurring in subjects
placed in the prone position, 9 of whom were in the hogtie restraint position. All the
subjects were combative, violent, and in an "excited delirious state" as a result of acute
psychosis or drug intoxication (most commonly cocaine). Violent confrontation and
struggle occurred in all cases, Two of these individuals were subjected to stun gun shocks
shortly before death. Although the authors admit drug intoxication could cause death
without positional asphyxiation from restraint position, nevertheless they assert that the
position "clearly impairs breathing in situations of high oxygen demand by inhibiting
chest wall and diaphragmatic movement" (14).

In 1995, Stratton et al. were the first to report 2 cases of unexpected deaths in individuals
who were placed in the restraint position and subsequently died while being transported
by prehospital medical personnel. Both cases involved men who were agitated,
combative, and under the influence of illegal drugs. The authors proposed that the
restraint position leads to "restriction of motion of the diaphragm and chest" and that such
positioning "can lead to asphyxia" (15).

In 1996, Ross reviewed 22 cases of sudden death in the prone or hogtie position reported
in the medical literature from 1988 through 1993. Of these, 18 occurred in individuals in
the hogtie restraint position, 2 were restrained prone on gumeys, and 2 were manually
restrained in a prone position, All exhibited violent, combative behavior and fought or
struggled with the police. Drug use and alcohol intoxication were noted in 16 cases.
Cocaine use was noted in 12 subjects. Positional asphyxia was listed as the sole cause of
death in 5 cases and as a contributing cause of death along with drug intoxication in
another 6 cases. The author concluded that placing a subject in a"confining position
which restricts the natural respiration process" can be fatal, and that "based on the risk of

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sudden death, the practice of hogtying and transporting subjects in a prone position
should be discontinued" (16).

In 1992, the San Diego Police Department in conjunction with the County Medical
Examiner's Office formed a Custody Death Task Force to examine the issues surrounding
in-custody deaths. Spurred by 7 cases of in-custody death in San Diego, 3 of which
occurred in individuals placed in the hogtie restraint position, the Task Force conducted a
national survey of law enforcement agencies, 39% of which reported experiencing
incustody deaths. The task force was able to confirm 94 cases of restraint-associated in-
custody deaths across the country during the previous decade, though the actual number
of deaths was likely higher because of incomplete or insufficient data collection. Forty-
three agencies or 30% of those responding at that time authorized the use of the hogtie
restraint position by their officers in subduing violent individuals. The number of hogtie
custody restraint fatalities was not determined (17).

POSITIONAL ASPHYXIA

Although deaths clearly have occurred in individuals placed in the restraint position, the
role of actual body position and of positional asphyxia in these situations is unclear. As
noted in the case report literature, investigators have postulated that the restraint position
prevents adequate chest wall, abdominal, and diaphragmatic movement for normal
ventilatory function and breathing. This inability to expand the thoracic cavity and the
resultant disadvantage in pulmonary mechanics lead to hypoventilatory respiratory
failure, asphyxiation, and death. Hirsh argued that the evidence suggesting "postural
compromise of ventilation and respiration" is sufficient and that it is "prudent and
appropriate for medicolegal officials to consistently classify as homicide the type of
deaths" associated with custody restraint positions (19).

Yet, no clear data support many of the conclusions drawn in the case report literature
regarding positional asphyxia and the hogtie restraint position. Many have argued that
factors unrelated to the restraint position may play a greater role in causing these deaths.
Most reported cases involve young men in an "excited" state or one of "agitated delirium"
as a result of psychiatric illness or intoxication from illegal drugs. These individuals were
combative, violent, and often struggled or suffered traumatic injuries as a result of
confrontation with law enforcement before their placement in the restraint position.

Investigators have argued that these other factors, such as delirium, intoxication, stress,
trauma, catecholamine hyperstimulation, hyperthermia, muscle fatigue, and exhaustion,
as opposed to asphyxiation from body positioning, are more important in explaining the
deaths of these individuals (20-22). Laposata suggested that the evidence to cite
positional asphyxia alone as a cause of death is insufficient, and the position "is not in
itself a position that would be expected to be fatal within minutes," as has been reported
in many cases (20).

In addition, the level of chest and abdominal constriction that may result in significant
ventilatory or respiratory dysfunction is unclear. Ward and Macklem suggested that,

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although significant chest restriction may impede ventilation, restriction of abdominal
motion should not influence ventilatory bellows function because diaphragmatic
movement may in fact occur at a more efficient length (4).

PHYSIOLOGIC STUDIES

Where then is the scientific data supporting the occurrence of positional asphyxia in
individuals placed in the hogtie restraint position? The theory of positional asphyxia is
based primarily on the work of Reay et al. (23). Reay studied 10 healthy individuals who
were placed in the hogtie restraint position after a period of exercise on a stationary
cross-country ski machine to a maximum heart rate of 120 beats per minute. These
authors found statistically significant physiologic differences in the subjects in the
restraint position versus those in a sitting position after exercise. Overall, subjects in the
restraint position had prolonged recovery times after exercise for both heart rate (mean
duration of recovery 0.40 minutes longer in the restraint position) and peripheral oxygen
saturation measured by transcutaneous ear probe (mean duration of recovery 0.33
minutes longer). Based on these findings, Reay et al. postulated that deaths occurring in
individuals in the hogtie restraint position were the result of adverse physiologic and
respiratory effects from body position. They further argued that the prone restraint
position restricts chest and abdominal movement and thereby reduces respiratory tidal
volumes, placing an individual at risk for hypoventilation, hypercapnia, hypoxemia, and
asphyxiation(6,23).

Several points must be considered when evaluating this work. First, oxygenation in the
experimental subjects was measured by transcutaneous pulse oximetry. This method has
been shown to be a potentially inaccurate measure of arterial oxygenation, particularly
during exercise. The preferred method for assessing arterial blood oxygenation remains
arterial blood gas measurements, which are more accurate and reliable (24-26).

Reay et al, also reported decreases in oxygen saturation to 85% to 90% with exercise in
his healthy subjects. This finding is surprising because mild-to-moderate levels of
exercise improves ventilation-perfusion ratios throughout the lung zones, decreases the
arterial-alveolar gas exchange gradient, and improves pulmonary blood flow. Moreover,
minute ventilation increases with exercise and results in lower arterial Pco2 levels (27).
Accordingly, in contrast to Reay's findings, previous well-established work in exercise
physiology has demonstrated that arterial oxygenation improves, rather than decreases,
with exercise in healthy individuals (27,28).

Second, although heart rate and pulse oximetry were monitored in these subjects, no
direct measure of ventilatory function was performed. Ventilatory function while in the
restraint position is crucial to the theory of positional asphyxia, because investigators
have postulated that the position prevents adequate chest and abdominal diaphragmatic
movement to the point of hypoventilatory respiratory failure.

Schmidt et al. completed a study similar to that of Reay et al., with significantly different
results(29). Schmidt studied 18 healthy subjects, monitoring heart rate and oxygen

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saturation by pulse oximetry after exercise (stationary bicycle to a heart rate of 120 beats
per minute) in the sitting versus restraint position. Unlike Reay et al., Schmidt et al.
found no difference in mean heart rate and no evidence of oxygen desaturation in either
position after exercise. Schmidt et al. further monitored subjects after a more vigorous
simulated pursuit and physical struggle regimen. Again, no physiologic differences were
found in either position (29).

Another recent study further examined the respiratory and physiologic effects of the
hogtie restraint position (30). Fifteen healthy volunteers underwent a 2-phase crossover
controlled trial. In phase 1, subjects underwent pulmonary function testing (PFT) in four
different body positions: sitting, supine, prone, and restraint(hogtie position). In the
second phase, subjects underwent a 4-minute exercise period followed by a 15-minute
period in either the sitting or the restraint position. During the postexercise period, serial
arterial blood gas measurements were obtained, subjects underwent electrocardiographic
and pulse oximetry monitoring, and PFTs were performed.

A progressive restrictive pattern of PFTs was observed as subjects were in the sitting to
supine to prone to restraint positions. Mean forced vital capacities fell with each position
compared to sitting (declines of 7%, 7%, and 13% of predicted values for the supine,
prone, and restraint positions, respectively). Mean forced expiratory volumes in 1 second
fell in a similar fashion (declines of 8%, 9%, 14% of predicted values, respectively), as
did maximal voluntary ventilation (declines of 10%, 15%, and 23% of predicted values,
respectively). Exercise itself resulted in no further restrictive impairment in PFTs (30).

These findings in isolation appear to support the theory of positional asphyxia from the
restraint position, However, PFT measurements as low as 80% of predicted values are
still normal, and these changes, although statistically significant, are of little clinical
relevance(31). Furthermore, PFT changes consistent with a restrictive pattern were also
seen simply by placing subjects in a supine or prone position. If one were to argue that
certain individuals may be at greater risk of hypoventilation in the restraint position, then
one would also have to conclude that these individuals were at risk even in the supine or
prone position.

Most important, no evidence of respiratory compromise was noted during either the
exercise or the postexercise period in the restraint position. Based both on serial arterial
Po2 and co-oximetry monitoring, oxygenation increased rather than decreased with
exercise (30). This improvement in oxygenation occurred in the face of vigorous exercise
to a mean heart rate of 169 beats per minute. These findings are consistent with previous
studies in exercise physiology (27,28).

Moreover, despite the PFT findings, no evidence of hypoxia, hypercapnia, or delay in
heart rate recovery was noted while subjects were in the restraint position after exercise.
In fact, mean Pco2 levels decreased during exercise and remained lower than 40 mm Hg
for as long as 15 minutes after exercise while subjects were in the restraint position(30).
These findings demonstrated that, despite the restrictive PFT pattern, no evidence

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indicated hypoventilation or ventilatory compromise as a result of body positioning in the
restraint position.

CONCLUSIONS

Based on these findings, factors other than body positioning appear to be more important
determinants for sudden, unexpected deaths in individuals in the hogtie custody restraint
position. Ilicit drug use (including sympathomimetic, hallucinogenic, and psychomotor
stimulant drugs), physiologic stress, hyperactivity, hyperthermia, catechol
hyperstimulation, and trauma from struggle may be more important factors in the deaths
of these individuals. Although restraints in general increase the psychological and
physiologic stress on the individual, no evidence suggests that body position alone causes
hypoventilation, respiratory compromise, or positional asphyxia in the hogtie custody
restraint position.

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